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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 18-CR-32-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

               Defendant.


 GOVERNMENT’S RENEWED MOTION FOR EARLY RETURN TRIAL SUBPOENA

       The United States of America, by and through undersigned counsel, respectfully requests

that the Court approve a subpoena to defendant Concord Management and Consulting LLC. On

January 24, the Court granted the government’s request to subpoena three categories of records,

and the government has now served that subpoena, as modified by the Court, on Concord. The

Court denied the government’s request for three additional categories of records, concluding that

aspects of those requests were not sufficiently specific. The Court made clear that the government

could narrow its requests, provide a more detailed justification for the prior requests through more

detailed evidence, and/or offer a more thorough account of why the government believes that these

categories are calculated to obtain records for use at trial. This motion does all three. The motion

provides a detailed factual basis and logical argument for why the requests at issue are proper and

narrows the categories of requested documents.

                                        BACKGROUND

       A.      Rule 17 Trial Subpoenas

       Federal Rule of Criminal Procedure 17 authorizes a party to a criminal case to issue a

subpoena commanding a person to testify or to produce documents or objects for use in a

“proceeding.” See Fed. R. Crim. P. 17(a), (c)(1). Rule 17 authorizes subpoenas for testimony or
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evidence pertinent to any kind of court proceeding. See Fed. R. Crim. P. 17(a), (c)(1); see also

Wright & Miller, Federal Practice and Procedure § 272 (3d ed.) (explaining that in addition to

trials, “[a] subpoena may be issued for a preliminary examination, a grand jury investigation, a

deposition, for determination of an issue of fact raised by a pre-trial motion, or for post-trial

motions”). Although Rule 17 does not expressly define what constitutes a proper subpoena, those

limits derive from the requirement that a subpoena is calculated to obtain evidence for a particular

proceeding. See United States v. Nixon, 418 U.S. 683, 699-700 (1974) (summarizing requirements

for trial subpoena); United States v. R. Enterprises, 498 U.S. 292, 299-300 (1991) (establishing

different requirements for grand jury subpoena).

       When determining whether a trial subpoena seeking documents complies with Rule 17, the

key question is whether the subpoena is calculated to obtain records for use at trial. The Supreme

Court has explained that a subpoena may be used to reach any materials “so long as they are

evidentiary,” and therefore every subpoena must be “a good-faith effort . . . to obtain evidence.”

Bowman Dairy Co. v. United States, 341 U.S. 214, 219-220 (1951). A court’s decision “to quash

or modify” a subpoena must be calculated “to that end,” i.e., to whether the requested subpoena is

“a good-faith effort . . . to obtain evidence.” Id. at 220. In the context of a trial subpoena, the

question is therefore whether the subpoena is a good faith effort to obtain evidence for trial. The

three guideposts for answering that question are “(1) relevancy; (2) admissibility; [and] (3)

specificity.” Nixon, 418 U.S. at 700; see, e.g., United States v. Libby, 432 F. Supp. 2d 26, 29-32

(D.D.C. 2006). The significance of the first two requirements—relevancy and admissibility—is

straightforward. Only material that is arguably relevant and admissible could constitute evidence

that can be used at trial. The further requirement of specificity recognizes that without having

already seen the potential evidence, it is impossible to describe fully or with specificity what will



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ultimately constitute evidence. See Nixon, 418 U.S. at 700. The question is whether “there is a

‘sufficient likelihood,’ demonstrated through rational inferences, that the documents being sought

contain relevant and admissible evidence.” Libby, 432 F. Supp. 2d at 31 (quoting Nixon, 418 U.S.

at 700). Where the requesting party has not previously seen the documents sought, this often

entails “reasonably specify[ing] the information contained or believed to be contained in the

documents.” Id.

       B.      Factual Background

       The Superseding Indictment alleges that the conspirators sought to engage in what they

called “information warfare” directed at the American political system.            The Superseding

Indictment further alleges that, in order to carry out their interference activities without detection

of their Russian affiliation, the defendants conspired to obstruct the lawful functions of the United

States government agencies that monitor and police foreign influence.              The Superseding

Indictment alleges, and the government will prove at trial, that the conspirators, in fact, executed

their plan. The government will show that the Internet Research Agency (“IRA”) and its

employees (several of whom are indicted defendants) carried out the day-to-day efforts to

influence the U.S. political system without detection, including efforts to impede the relevant

government functions through deceitful means. The government will further show that defendant

Concord Management and Consulting, and its controlling officer, Yevgeniy Prigozhin, funded and

oversaw the influence and interference activities through reporting and interaction with IRA

management.

       Because this charged crime is a conspiracy, one of the key issues in the case will be the

relationship between Concord and the IRA. The government’s evidence shows that Concord

(including its officers and employees) and the IRA (including its officers and employees)



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interacted regularly and kept records of those interactions. The argument section below provides

further detail about that evidence and why it shows a sufficient likelihood, through rational

inferences, that the documents being sought contain relevant and admissible evidence. But for

present purposes, the government here outlines the most pertinent background.




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       C.      Subpoena Categories

       The government respectfully submits that in light of the detailed evidence and discussion

of the government’s inferences contained below, the government has now met its burden to show

that there is a sufficient likelihood, demonstrated through rational inferences, that the documents

requested contain relevant and admissible evidence. In the alternative, for each category, the

government has also proposed sub-categories that are even narrower.

       1. Calendar Entries

            a. For the time period from January 1, 2014 to February 1, 2018, calendar entries
               reflecting meetings between Yevgeniy Prigozhin and Jay Aslanov, Michael
               Burchik, Michael Bystrov and/or an individual identified as “Misha Lakhta.”

            b. For the time period from January 1, 2014 to February 1, 2018, calendar entries
               reflecting meetings between Yevgeniy Prigozhin and Michael Burchik, “Burchik
               M,” or “Misha Lakhta.”

            c. Calendar entries reflecting meetings between Prigozhin and “Burchik M.” on or
               about April 13, 2016 and on or about April 22, 2016.

            d. Calendar entries reflecting meetings between Prigozhin and “Misha Lakhta” on or
               about January 27, 2016, February 1, 2016, February 2, 2016, February 14, 2016,
               February 23, 2016, February 29, 2016, May 22, 2016, May 23, 2016, May 28, 2016,
               May 29, 2016, June 7, 2016, June 27, 2016, July 1, 2016, September 22, 2016,

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              October 5, 2016, October 23, 2016, October 30, 2016, November 6, 2016,
              November 13, 2016, November 26, 2016, December 3, 2016, December 5, 2016,
              December 29, 2016, January 19, 2017, and February 1, 2017.
       2. Payment Records

           a. For the time period from January 1, 2014 to February 1, 2018, records reflecting
              any payments from Concord Management and Consulting LLC to fund the
              activities of the Internet Research Agency, made directly or through another
              organization.

           b. For the time period from January 1, 2014 to February 1, 2018, records reflecting
              any payments from Concord Management and Consulting LLC to fund overhead
              costs, salaries, or social media activities of the Internet Research Agency, made
              directly or through another organization.

           c. For the time period from January 1, 2014 to February 1, 2018, records reflecting
              any payments from Concord Management and Consulting LLC to fund the
              purchase of social media advertising or the use of computer infrastructure such as
              proxy servers or virtual private servers in the United States by the Internet Research
              Agency, made directly or through another organization.
       3. Communications

           a. For the time period from January 1, 2014 to February 1, 2018, communications
              between Concord Management and Consulting LLC and Elena Khusyaynova
              concerning the activities of the Internet Research Agency.

           b. For the time period from January 1, 2014 to February 1, 2018, communications
              among Elena Khusyaynova, Mairna Poloreltseva, and Svetlana Polikarpova
              concerning payments to the Internet Research Agency.
                                         DISCUSSION

       The requested subpoena is “a good-faith effort . . . to obtain evidence” for use at trial.

Bowman Dairy Co. v. United States, 341 U.S. 214, 219-220 (1951). As the government has

previously explained and Concord no longer disputes (see Doc. 288, at 35-44), the records sought

by the government are directly relevant to this case and likely admissible at trial. Because the

government has obtained only a subset of these records

                                                     the government cannot describe fully or with


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precise specificity the records that it seeks. But as laid out here, substantial evidence and rational

inferences establish a “sufficient likelihood” that the responsive records “contain relevant and

admissible evidence.” Libby, 432 F. Supp. 2d at 31 (quoting Nixon, 418 U.S. at 700). And because

the government does not know the exact form the records take, the government has properly

described them in terms of “the information contained or believed to be contained in the

documents.” Id.

       1.      Calendar Entries

       The proposed trial subpoena requests pertinent calendar entries that show meetings

between Yevgeniy Prigozhin and IRA leadership. The first category (1a) narrows the prior request

to calendar entries for the time period from January 1, 2014 to February 1, 2018 for Prigozhin’s

meetings with Jay Aslanov, Mikahil Burchik, Michael Bystrov and/or an individual identified as

“Misha Lakhta”—



                           The second category (1b) further narrows that request to calendar entries

for the time period from January 1, 2014 to February 1, 2018, reflecting meetings between

Yevgeniy Prigozhin and Michael Burchik, “Burchik M,” or “Misha Lakhta”—

                                                                The third and fourth categories (1c

and 1d) request                                                                               For the

reasons set forth below, the government believes that the first formulation is sufficiently specific

to satisfy Rule 17. If the Court disagrees, then the government requests that the Court authorize a

subpoena for the second category or, if not, the third and fourth categories.

       Evidence gathered during the course of the investigation shows that this request is likely

to lead to the discovery of admissible evidence because



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       If the Court disagrees, then the government requests (1b) that the Court approve an even

narrower version of this request that requires Concord to produce

                                                                                               If the

Court disagrees, then the government requests (1c and 1d)

                                              Concord has already stated that it intends to dispute

the authenticity of this evidence. And resolving disputes regarding authenticity is a proper function

of a trial subpoena. Digital calendar entries also bear metadata

       At the January 24, 2020 hearing, the Court raised the possibility that calendar entries might

reflect meetings with IRA leadership that has nothing to do with the allegations in the Superseding

Indictment. As an initial matter, because the Superseding Indictment charges a broad conspiracy,

evidence of the relationship between Prigozhin and the IRA is itself significant. “In a conspiracy

prosecution, the government is usually allowed considerable leeway in offering evidence . . . to

inform the jury of the background of the conspiracy charged, to complete the story of the crimes

charged, and to help explain to the jury how the illegal relationship between the participants in the

crime developed.” United States v. Mathis, 216 F.3d 18, 26 (D.C. Cir. 2000) (internal quotation

marks and citations omitted); see also, e.g., United States v. Mercado, 573 F.3d 138, 141 (2d Cir.

2009) (prior bad acts by conspirators relevant to show “the relationship” between conspirators,

“the complete story of the crimes charged” and “the basis for trust” among them); United States v.

Kuehne, 547 F.3d 667, 688-689 (6th Cir. 2008) (relationship among coconspirators relevant to

show knowledge and common plan); United States v. Morrow, No. 04-cr-355, 2005 WL 3159572,

at *10 (D.D.C. Apr. 7, 2005) (other joint activity relevant “to show association, a developing



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relationship, and identity”); United States v. Moore, 149 F.3d 773, 780-781 (8th Cir. 1998)

(evidence relevant to “explain[] the circumstances of the alleged crime or the relationship between

alleged conspirators”); United States v. Cardenas, 9 F.3d 1139, 1157 (5th Cir. 1993) (“Association

is a factor that, along with other evidence, may be relied upon to find conspiratorial activity by the

defendant.”); United States v. O’Leary, 739 F.2d 135, 136-137 (3d Cir. 1984) (in conspiracy trial,

evidence is relevant to show “the parties' familiarity with one another, and their concert of action”).

       The Superseding Indictment further alleges that the nature of the relationship was that

Concord oversaw the IRA’s activities, received updates, and exercised financial control. The fact

that Prigozhin met with IRA leadership and the frequency of those meetings—particularly in

conjunction with

                                                          supports an inference that Prigozhin was

aware of and part of the IRA’s influence activities. See generally Old Chief v. United States, 519

U.S. 172, 179 (1997) (evidence is relevant if it is “a step on one evidentiary route”); see, e.g.,

United States v. Straker, 800 F.3d 570, 590 (D.C. Cir. 2015) (uncharged hostage taking by

defendants “relevant to both how those defendants started to work together as kidnappers, and

their motive and intent to kidnap”); United States v. Butch, 256 F.3d 171, 176 (3d Cir. 2001)

(evidence relevant in conspiracy trial “to provide necessary background information, to show an

ongoing relationship between [the defendant and a co-conspirator], and to help the jury understand

the co-conspirator's role in the scheme”) (alteration in original); United States v. Nosal, No. 08-cr-

237, 2013 WL 11327121, at *6 (N.D. Cal. 2018) (evidence of “relationship between the parties”

sheds light on one conspirator’s knowledge of another’s “thoughts, motives, and intentions during

the course of events”). A jury can rationally infer that if the IRA was engaging in deceptive

influence activities targeting the United States and dedicating significant resources to those efforts,



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then briefings about IRA activities likely covered those U.S.-directed efforts. As discussed, the




       Indeed, the inferences drawn here parallel those drawn by the Supreme Court in Nixon

itself. There, the government sought a number of tapes that contained recordings of oval office

meetings. The government did not know the content of many of these tapes, and many would

surely include information that was irrelevant to the trial of Watergate conspirators. The Court

recognized, however, that “statements of one or more of the participants” in some conversations

shed light on the likely relevance. 418 U.S. at 700. And “the identity of the participants and the

time and place of the conversations, taken in their total context, permit[ted] a rational inference

that at least part of the conversations relate to the offenses charged in the indictment.” Id.

       2.      Payment Records

       The proposed trial subpoena requests documents related to payments from Concord to the

IRA. The first category (1a) encompasses Concord’s payments to fund the IRA’s activities. The

second and third categories (1b and 1c) encompass specific categories of payments that would

directly support the activities at issue in this case—generalized overhead, salaries, social media,

and U.S.-based computer infrastructure.

       Evidence gathered during the course of the investigation shows that this request is likely

to yield admissible evidence.       In particular, the government has obtained




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       This evidence provides a sufficient basis to conclude that a trial subpoena to Concord for

records of payments to fund the activities of the IRA will yield admissible, relevant evidence. The



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       This evidence is more than sufficient to show that a subpoena to Concord for records

related to payments to fund the activities of the IRA is not a fishing expedition. If the Court

disagrees, then the government requests permission to issue a trial subpoena to Concord for the

more limited category of financial records reflecting




       At the January 24 hearing, the Court raised questions whether the budgets obtained by the

government relate to the allegations in the Superseding Indictment, and the Court noted that some

or many of the payments the government seeks do not pertain to allegations contained in the

indictment. As with Prigozhin’s calendar entries, because the crime charged here is a conspiracy,

the nature of the relationship between Concord and the IRA—as well as other indicted co-

conspirators who are listed as running shell corporations that received payments—is highly

relevant, separate and aside from particular acts in furtherance of the conspiracy. Moreover, even

payments that do not directly concern acts in furtherance of the conspiracy are probative to



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understanding Concord’s role with respect to the specific “information warfare” that required

defrauding the United States. Establishing that Concord generally funded the IRA’s activities, did

so through shell corporations, monitored the IRA’s spending, and even paid specific invoices goes

a long way to demonstrating that Concord funded and monitored the particular influence activities

at issue here. See Butch, 256 F.3d at 176 (evidence relevant in conspiracy trial “to show an ongoing

relationship between [the defendant and a co-conspirator], and to help the jury understand the co-

conspirator's role in the scheme”) (alteration in original); United States v. Kanchanalak, 41 F.

Supp. 2d 1, 10 (D.D.C. 1999) (in conspiracy to defraud the United States by interfering in FEC

function to monitor “hard money,” conspirators’ “soft money” activity “may establish a pattern of

conduct by defendants and help support the allegations with respect to hard money”).

       Additionally, as discussed,




       To be sure, it is possible that some records may reflect activity aimed at other countries.

But as discussed, Concord’s financing of any IRA influence activity sheds light on Concord’s role

in the conspiracy charged here. And the question is not whether there is a certainty but only

whether there is a “sufficient likelihood.” Nixon, 418 U.S. at 700. In fact, the Supreme Court’s

short discussion of specificity in Nixon relied on a decision in United States v. Gross, 24 F.R.D.



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138 (S.D.N.Y. 1959), which is similar in many ways to request 2a. Gross concerned a prosecution

for violating the Fair Labor Standards Act. Id. at 140. The government there sought “payroll, time

cards and piece work records for all employees” over a two-year period. Id. at 139. The district

court stressed that “if a subpoena is directed towards a good-faith effort to obtain evidence there

is no reason why such evidence may not be reached under Rule 17(c).” Id. at 140 (citing Bowman,

341 U.S. at 219-220). The court there noted that “some entries” would not concern FLSA

violations but explained that inspecting all of the payment records would allow the government

“to see whether [the prosecution] can use it or whether [the prosecution] wants to use it.” Id. at

141. The court further found that “the motion is made in good faith and that it is an honest effort

to obtain evidence for use on trial.” Id. The court recognized that “[i]t [wa]s not a general fishing

expedition to determine whether a crime was committed.”             Id.   Among other things, the

government had “prima facie evidence” to show that the defendant engaged in the charged

conduct, and the requested documents concerned the charged crimes and “the precise period

covered.” Id. Court after court has upheld similar subpoenas. See also, e.g., United States v.

Skelos, No. 15-cr-317, 2018 WL 2254538, at *6 (S.D.N.Y. May 17, 2018) (the subpoena requests

sufficiently specific “because they are for specific categories of documents concerning or

reflecting payments to Dorego from specifically identified individuals”); United States v.

Rajaratnam, No 09-cr-1184, 2011 WL 335170, at *2 (S.D.N.Y. Feb. 2, 2011) (data regarding

trades in the securities of identified issuers); United States v. McCollom, 651 F. Supp. 1217, 1219-

25 (N.D. Ill. 1987) (trial subpoena seeking documents related to particular accounts).

       3.      Communications

       Finally, the government has substantially narrowed its request for communications. The

government now first seeks (3a) only Concord’s communications with Elena Khusyaynova—the



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IRA accountant

            Alternatively, the government seeks (3b) an even narrower set of communications,

limited to those among the three individuals

            and further limited to the subject of payments to the IRA. Because the crime charged

here is a conspiracy, the existence, nature, and frequency of communications among conspirators

is itself relevant. The requests for communications in the proposed trial subpoena are further

limited to the individuals and subject matter that bear directly on the conspiracy charged in this

case and are based on                                                        Courts regularly permit

the government to issue trial subpoenas based on similar forms of rational inference. See, e.g.,

United States v. Binday, No. 12-cr-152, 2013 WL 4494659, at *3 (S.D.N.Y. Aug. 15, 2013)

(upholding subpoena for any recordings or transcripts of interviews regarding certain policies

because     “Nixon   does   not   require   any    greater   specificity   about   these   telephone

interviews/transcripts than simply identifying the policy with which they were (or were not)

undertaken”); Rajaratnam, 2011 WL 335170, at *2 (any and all e-mails regarding defined

subjects); In re Martin Marietta Corp., 856 F.2d 619, 621-622 (4th Cir. 1988) (upholding subpoena

for “internal audit reports, workpapers and related supporting documentation” regarding the

“relationship” between certain companies and all “[n]otes, transcripts and electronic recordings

of interviews” with six people “concerning the relationship” of one individual and three entities);

United States v. Gel Spice Co.,60l F. Supp. 1214, 1220 (E.D.N.Y. 1985) (denying motion to quash

trial subpoena issued to corporate defendant requesting “records regarding the shipment and

importation of certain foods”).

       As already explained, the government




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                                                   See United States v. Haldeman, 559 F.2d 31,

76 & n.92 (D.C. Cir. 1976) (suggesting that parties have greater leeway when there is an

“informational handicap”) (citing United States v. Burr, 25 Fed.Cas. 187, 191 (No. 14694)

(Marshall, C.J.) (“Now, if a paper be in possession of the opposite party, what statement of its

contents or applicability can be expected from the person who claims its production, he not

precisely knowing its contents?”)).




       At the January 24 hearing, the Court questioned whether the government has a basis to

seek all communications between Concord and 13 listed individuals and why those

communications are unlikely to encompass irrelevant information.      The government has now

significantly narrowed the request. As discussed, request 3a is limited to communications with

only one IRA employee, and request 3b is further limited to communications with only two

Concord employees and solely to subject matter of payments to the IRA. These categories mirror



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        It is of no matter that these communications may include certain irrelevant information.

The question is whether “there is a ‘sufficient likelihood,’ demonstrated through rational

inferences, that the documents being sought contain relevant and admissible evidence.” Libby,

432 F. Supp. 2d at 31 (quoting Nixon, 418 U.S. at 700). It is that fact that separates “an honest

effort to obtain evidence for use on trial” from “a general fishing expedition to determine whether

a crime was committed.” Gross, 24 F.R.D. at 141 (cited in Nixon); see Bowman Dairy, 341 U.S.

at 219-220. Thus, in Nixon, the subpoenaed tapes likely contained irrelevant information along

with relevant information. 418 U.S. at 700 (explaining that the facts “taken in their total context,

permit a rational inference that at least part of the conversations relate to the offenses charged in

the indictment.”) (emphasis added). In Gross, which the Court cited in Nixon, the two years of

“payroll, time cards and piece work records for all employees” likely contained some irrelevant

information. Indeed, in the many other cases cited by the government where courts approved all

records of payments for certain purposes or emails on certain subjects, the responsive records

likely included irrelevant information along with relevant information. It was the sufficient

likelihood that those records contained relevant evidence that demonstrated the good-faith nature

of the trial subpoena, i.e., that it was calculated to obtain evidence for trial.

                                           CONCLUSION

        For the foregoing reasons, the Court should issue the requested early return trial

subpoena.



                                        Respectfully submitted,


JOHN C. DEMERS                                                  JESSIE K. LIU

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